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                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION


  ROCK CREEK NETWORKS, LLC,

                                                 Case No. 6:21-cv-00 675
              Plaintiff

                                                 JURY TRIAL DEMANDED
             v.

  NVIDIA CORPORATION,

              Defendant


               COMPLAINT FOR PATENT INFRINGEMENT

      Plaintiff Rock Creek Networks, LLC (“Plaintiff” or “RCN”) files this

Complaint against Defendant Nvidia Corporation (“Nvidia” or “Defendant”) for

infringement of RCN’s patent: U.S. Patent No. 6,671,750 (PX-750 attached).

                                 THE PARTIES

      1.    Plaintiff and patent owner RCN is a Texas limited liability company

with its headquarters and principal place of business in Waco, Texas.

      2.    On information and belief, Defendant Nvidia is a corporation organized

under the laws of Delaware, with a place of business at 2788 San Tomas Expressway,

Santa Clara, CA 95051.

      3.    Nvidia maintains a physical location in Austin, that, on information and
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belief, is located at The Crossings at Lakeline, 11001 Lakeline Blvd. #100, Austin,

Texas 78717.

                          JURISDICTION AND VENUE

      4.     This is a patent suit brought under the United States Patent Act, namely

35 U.S.C. §§ 271, 281, and 284-285, among other laws. This Court has subject-

matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

      5.     NVIDIA, directly and/or through its subsidiaries and agents (including

distributors, retailers, nvidia.com website, and/or others) purposefully and

voluntarily places one or more of its infringing products into the stream of commerce

with both the expectation and knowledge that those products will be purchased and

used by consumers in the State of Texas and the Western District of Texas. NVIDIA,

directly and/or through its subsidiaries and agents (including distributors, retailers,

nvidia.com website, and/or others), offers for sale and sells products within the State

of Texas and within the Western District of Texas that infringe the Asserted Patent.

NVIDIA either itself and/or through the activities of its subsidiaries, makes, uses,

sells, offers for sale, and/or imports throughout the United States, including within

this District, products accused of infringement. NVIDIA provides a distribution

channel of infringing products within this District and the U.S. nationally. NVIDIA

has committed acts of patent infringement within the State of Texas and, more

particularly, within Western District of Texas.



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       6.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b).

Defendant has a physical location in this District, and markets, sells, and delivers

accused products in this District, directs and instructs customers and end users how

to use the accused products in this District, and has committed acts of infringement

in this District.

                           NOTICE OF RCN’S PATENT

       7.     Plaintiff is the owner, by assignment, of U.S. Patent No. 6,671,750 (the

“’750 Patent”), entitled LAN INTERFACE, which issued on December 30, 2003. A

copy of the ’750 Patent is attached hereto as Exhibit PX-750.

       8.     RCN possesses all rights of recovery under the Asserted Patents.

       9.     Defendant has been on notice of the ’750 Patent at least as early as the

date it received service of this complaint.

                              NVIDIA’S PRODUCTS

       10.    On information and belief, Nvidia makes, imports, sells, offers to sell,

distributes, licenses, markets and/or uses ethernet network adaptor cards such as

ConnectX-4 LX Ethernet Adaptor Cards, ConnectX-5 EN Ethernet Adaptor Cards,

ConnectX-6 EN Ethernet Adaptor Cards, and ConnectX-6 Lx Ethernet SmartNIC

cards (“the Accused Products”).

       11.    The Accused Products support Energy Efficient Ethernet:




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https://www.mellanox.com/files/doc-2020/pb-connectx-6-lx-en-card.pdf.

      12.   IEEE 802.3az Energy Efficient Ethernet describes reduce energy usage

when no data packets are sent through a link by putting said link into a sleep mode

in the absence of data packet transmission:




      https://www.csee.usf.edu/~kchriste/energy/commMag10b.pdf

      13.   IEEE 802.3az Energy Efficient Ethernet describes preventing data

transmission when there is no data to send and to resume data transmission when


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new data packets arrive:




      https://www.csee.usf.edu/~kchriste/energy/commMag10b.pdf

      14.   The Accused Products regulate the transmission of signals passing

through them:




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https://store.mellanox.com/products/nvidia-mcx516a-ccat-connectx-5-en-adapter-

card-100gbe-dual-port-qsfp28-pcie3-0-x16-tall-bracket-rohs-r6.html

                            COUNT I
              INFRINGEMENT OF U.S. PATENT NO. 6,671,750

      15.    Plaintiff realleges and incorporates by reference the allegations in the

preceding paragraphs as if fully set forth herein.

      16.    The ’750 Patent is valid, enforceable, and was duly issued in full

compliance with Title 35 of the United States Code.

      17.    Plaintiff is the owner by assignment of the ’750 Patent.

      18.    The Accused Products are designed to connect to provide interactive

services using applications.



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      19.    Upon information and belief, Defendant has infringed and continue to

infringe one or more claims, including Claim 1, of the ’750 Patent by making, using,

importing, selling, and/or, offering for sale the Accused Products in the United States

without authority.

      20.    Defendant has infringed and continues to infringe the ’750 Patent either

directly or through the acts of inducement in violation of 35 U.S.C. § 271.

      21.    Defendant encourages others, including their customers, to use the

Accused Products in the United States without authority.

      22.    Claim 6 of the ’750 Patent recites:

             6.      A LAN interface comprising:

             a LAN controller for processing a signal transmitted from a terminal

                     connected to an I/O bus and then transmitting a processed signal

                     to said counter device, and for processing a signal transmitted

                     from said counter device and then transmitting a processed signal

                     to said connection device;

             a separator connected between said LAN controller and said I/O bus,

                     for electrically disconnecting said LAN controller from said I/O

                     bus; and

             a link pulse detector for operating on a predetermined voltage supplied

                     via said I/O bus and detecting a link pulse from said counter


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                   device connected to said connection port;

            wherein said link pulse detector, when detecting a link pulse output

                   from the counter device, controls the LAN controller and the

                   isolation section to controllably bring them to an operation state

                   thereof and, when not detecting a link pulse output from the

                   counter device, controls the LAN controller and the isolation

                   section to controllably bring them to a non-operation state.

      23.   As exemplified in the information referenced in the above paragraphs

and the use of one or more of the Accused Products, the Accused Products include a

LAN interface that has LAN controller for processing a signal transmitted from a

terminal connected to an I/O bus and then transmitting a processed signal to said

counter device, and for processing a signal transmitted from said counter device and

then transmitting a processed signal to said connection device.

      24.   The Accused Products have a LAN interface that has a separator

connected between said LAN controller and said I/O bus, for electrically

disconnecting said LAN controller from said I/O bus.

      25.   The LAN interface includes a link pulse detector for operating on a

predetermined voltage supplied via said I/O bus and detecting a link pulse from said

counter device connected to said connection port.

      26.   In operation, the link pulse detector, when detecting a link pulse output


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from the counter device, controls the LAN controller and the isolation section to

controllably bring them to an operation state thereof and, when not detecting a link

pulse output from the counter device, controls the LAN controller and the isolation

section to controllably bring them to a non-operation state.

      27.    Defendant’s infringing activities are and have been without authority or

license under the ’750 Patent.

      28.    Plaintiff is entitled to recover from Defendant the damages sustained

by Plaintiff as a result of Defendant’s infringing acts, which, by law, cannot be less

than a reasonable royalty, together with interest and costs as fixed by this Court,

pursuant to 35 U.S.C. § 284.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests the Court enter judgment

against Defendant:

      1.     declaring that the Defendant has infringed the ’750 Patent;

      2.     awarding Plaintiff its damages suffered as a result of Defendant’s

             infringement of the ’750 Patent;

      3.     awarding Plaintiff its costs, attorneys’ fees, expenses, and prejudgment

             and post-judgment interest; and

      4.     granting Plaintiff such further relief as the Court deems just and proper.




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                                 JURY DEMAND

      Plaintiff hereby demands a trial by jury of all issues so triable pursuant to Fed.

R. Civ. P. 38.


Dated: June 25, 2021                      Respectfully Submitted,

                                          By: /s/ Cabrach Connor
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